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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                            CASE NO. 1:08-cr-00012-MP-AK

ANDREW COX,
AMANDA YVONNE WHITE,
THOMAS ALAN SMART,
EMMA MARIE MENA,

       Defendant.

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                                          ORDER

       This matter came before the Court for a teleconference on August 25, 2009. As stated

during the conference, Mr. Smart's motion to continue sentencing, Doc. 203, is granted.

Sentencing will be reset by separate notice. Additionally, regarding Mr. Cox's motion to

terminate counsel and to proceed pro se, Doc. 204, an in-court hearing will be held on

Wednesday, September 2, 2009, at 1:00 p.m. The presence of Mr. Cox is required.


       DONE AND ORDERED this 26th day of August, 2009


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
